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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

 STATE OF LOUISIANA, ET AL.                            CIV. ACTION NO. 3:21-03970

 VERSUS                                                JUDGE TERRY A. DOUGHTY

 XAVIER BECERRA, ET AL.                                MAG. JUDGE KAYLA D. MCCLUSKY

                                        JUDGMENT

         The Report and Recommendation of the Magistrate Judge [Doc. No. 91] having been

  considered, together with the Objection [Doc. No. 92] filed by Plaintiffs, and the Reply [Doc.

  No. 93] filed by Defendants, and, after a de novo review of the record, finding that the

  Magistrate Judge's Report and Recommendation is correct,

         IT IS ORDERED, ADJUDGED, AND DECREED that Defendants’ Motion to Dismiss

  for Failure to State a Claim Upon Which Relief Can Be Granted [Doc. No. 64] is GRANTED,

  and Plaintiffs’ Complaint, as amended, is hereby DISMISSED, WITH PREJUDICE, in its

  entirety. FED. R. CIV. P. 12(b)(6). The case is closed.

         Monroe, Louisiana, this 2nd day of December 2022.


                                                       ____________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE
